  1   Russell Brown
      CHAPTER 13 TRUSTEE
  2   Suite 800
  3   3838 North Central Avenue
      Phoenix, Arizona 85012-1965
  4   602.277.8996
      Fax 602-253-8346
  5   mail@ch13bk.com
  6
                             UNITED STATES BANKRUPTCY COURT

  7                                    DISTRICT OF ARIZONA
      In re                                            Chapter 13
  8

  9   CATHERINE ANNE WILLIAMSON,                       Case No. 2-15-bk-15653 PS

 10   AND                                              Case No. 2-16-bk-00788-PS
 11   ROBERT LANCASTER WILLIAMSON III                  TRUSTEE'S NOTICE OF INTENT
 12                                                    TO LODGE DISMISSAL ORDER
                                            Debtor.
 13      Russell Brown, Chapter 13 Trustee, pursuant to L.R.B.P. 2084-10(b), provides notice of
 14   intent to lodge a dismissal order for failure of the Debtor to comply with the Recommendation
 15   or file an objection to the Recommendation and obtain a hearing date. The Trustee could lodge
 16
      a dismissal order 13 calendar days after serving this Notice. A copy of the proposed Order
 17
      Dismissing Case is attached.
                                                                       Rachel Flinn
 18
                                                                       2018.06.21
 19                                                                    11:31:47 -07'00'

 20                                               Russell Brown, Trustee
                                                  Rachel Flinn, Esq., Attorney for Trustee
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  1
         A copy of this Notice of Intent to Lodge Dismissal Order was served by mail or email to the
  2
      Debtor and Debtor's attorney on the date signed to:
  3

  4
           MARK D. WESBROOKS
  5        wesbrooksefax@gmail.com
           Attorney for Debtor
  6

  7
           CATHERINE ANNE WILLIAMSON
  8        2272 SOUTH MCCLELLAND PLACE
           CHANDLER, AZ 85286
  9

 10        ROBERT LANCASTER WILLIAMSON, III
           2272 S. MCCLELLAND PLACE
 11        CHANDLER, AZ 85286

 12
                           Rachel Flinn
                           2018.06.21
 13
                           11:31:55 -07'00'
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  1    Russell Brown
       CHAPTER 13 TRUSTEE
  2    Suite 800
       3838 North Central Avenue
  3
       Phoenix, Arizona 85012-1965
  4    602.277.8996
       mail@ch13bk.com
  5                             UNITED STATES BANKRUPTCY COURT
  6                                      DISTRICT OF ARIZONA
  7    In re                                               Chapter 13
  8
       CATHERINE ANNE WILLIAMSON,                          Case No. 2-15-bk-15653 PS
  9
                                                           ORDER DISMISSING CASE
 10

 11
                                                 Debtor.
 12
           The Trustee having notified the Court that the Debtor failed to comply with the Trustee's
 13
       Recommendation as required by Local Rule 2084-10, the Court finds cause for dismissing the
 14
       case pursuant to 11 U.S.C. § 1307(c)(1). The Trustee states the following reason(s) for
 15
       lodging a dismissal order:
 16 Failure to comply with Trustee's recommendation and to bring plan payments

 17
    current. The Trustee notes that an order approving final loan modification was entered
    on May 2, 2018, at Docket #190. Pursuant to the MMM Procedures, the Debtors had
 18 until May 30, 2018 to file an amended Plan incorporating the final loan modification
    order. A review of the Docket shows that an amended Plan incorporating the final loan
 19 modification order has not been filed. Further, the Debtors are delinquent on Plan
    payments in the amount of $10,500.00
 20
      NOW, THEREFORE, IT IS ORDERED:
 21
      (A) This case is dismissed and the Clerk of the Court will give notice of the dismissal to all
 22 parties in interest;
      (B) A motion to reinstate the case may be granted without a hearing if the Trustee approves the
 23 proposed reinstatement order. If the Trustee does not approve of reinstatement of the case, the

 24 matter may be set for hearing upon the Debtor's motion. The Court may set a hearing on any
      motion to reinstate on the request of an interested party who had joined the Trustee's request for
 25 dismissal;

 26




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   1      (C) Pursuant to 28 U.S.C. § 586(e)(2), the Trustee shall retain his percentage fee from all
   2 payments and property received, even if the case is reinstated and converted to another chapter.

   3 After payment of the Trustee's percentage fee, subject to the provisions herein, the Trustee will

   4 retain the funds in the case pending Court approval of the payment of administrative expenses

   5 of the attorney for the Debtor. If the Chapter 13 Plan contains an application for payment of

   6 administrative expenses and no party in interest filed an objection to the application, then the

   7 counsel for the Debtor may lodge an order approving the application within ten days after the

   8 Court enters this Dismissal Order. Alternatively, counsel for the Debtor has ten days after the

   9 Court enters this Dismissal Order to file and notice out a separate fee application. The Trustee

  10 is to pay from the funds on hand any adequate protection payments previously ordered by the

  11 Court. If there is an insufficient amount of funds on hand to pay all allowed administrative

  12 expenses and adequate protection payments, then the Trustee shall pay the administrative

  13 expenses and adequate protection payments pro rata. Any remaining funds will be returned to

  14 the Debtor. If the attorney for the Debtor fails to timely lodge such Order or file a fee

  15 application, the Trustee may pay out the funds according to this Order; and

  16
          (D) If the Court has entered a payroll deduction order on the wages of the Debtor or
  17
       Debtors, then the Court vacates that order.
  18

  19

  20
                          ORDER SIGNED AND DATED ON PAGE ONE
  21
                                                      ROBERT LANCASTER
  22   MARK D. WESBROOKS
       wesbrooksefax@gmail.com                        WILLIAMSON, III
  23   Attorney for Debtor                            2272 S. MCCLELLAND PLACE
                                                      CHANDLER, AZ 85286
  24   CATHERINE ANNE WILLIAMSON
       2272 SOUTH MCCLELLAND PLACE
  25   CHANDLER, AZ 85286
  26                      Rachel Flinn
                          2018.06.21
                          11:32:08 -07'00'



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